                     UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION

In the Matter of:                                  }
JIT INDUSTRIES, INC.                               }            CASE NO. 18-80892-CRJ-11
EIN: XX-XXX7267                                    }
                                                   }            CHAPTER 11
                        Debtor(s).                 }

            ORDER ON AMERICAN EXPRESS’S MOTION TO ESTABLISH
           ITS CLAIM AS ALLOWED AND PERMIT A LATE-FILED CLAIM

        On October 16, 2018, American Express National Bank (“American Express”) filed a

Motion to Establish Its Claim as Allowed and to Permit a Late-Filed Claim, ECF No. 98, in the

Debtor’s underlying Bankruptcy Case to which the Debtor filed a Response, ECF No. 102.

        On October 17, 2018, the Adversary Proceeding filed by the Debtor against American

Express and other Defendants, styled JIT Industries, Inc. v. Wells Fargo Financial Leasing Inc.,

et al., 18-80069-CRJ-11, came before the Court on American Express’s Motion to Establish its

Claim as Allowed and to Permit a Late-Filed Claim, ECF No. 95; Response filed by JIT Industries,

Inc., ECF No. 98; and on other related matters.           Following the hearing in the Adversary

Proceeding, the Court entered an Order Requiring Briefs, ECF No. 108, requiring counsel for both

parties to file Briefs regarding the late-filed proof of claim issue.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that no action will be

taken at this time on the pending Motion filed by American Express to Establish Its Claim as

Allowed and to Permit a Late-Filed Claim and Response filed by the Debtor in the underlying

Bankruptcy Case as the issues were addressed during the hearing in the related Adversary

Proceeding and are currently under submission awaiting briefs.

Dated this the 22nd day of October, 2018.               /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge




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